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                 5                                   UNITED STATES DISTRICT COURT
                 6                                           DISTRICT OF NEVADA
                 7                                                      ***
                 8       UNITED STATES OF AMERICA,                               Case No. 2:12-CR-463 JCM (VCF)
                 9                                              Plaintiff(s),                     ORDER
               10               v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                             Defendant(s).
               13
               14              On January 15, 2016, after a ten day jury trial, the jury returned a verdict and found
               15       defendant Frederick Williams guilty as charged in counts one, two, three, four, eight, nine, ten,
               16       eleven, twelve, thirteen, fourteen, fifteen, sixteen, nineteen, twenty, twenty-two, twenty-eight,
               17       twenty-nine, thirty, thirty-two, and thirty-three.
               18                                                      the verdict, the government made an oral motion to
               19       detain Mr. Williams, who had been previously released pending trial on a personal recognizance
               20       bond with conditions. (See, e.g., doc. # 692). Finding by clear and convincing evidence that the
               21       defendant is a flight risk based on his status as a Belizean national and the likely substantial
               22                                                               ordered the defendant remanded to custody.
               23                                               18 U.S.C. § 3143(a)(1), the defendant is ordered detained.
               24              Accordingly,
               25              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the release order entered
               26       on January 23, 2015, for defendant Frederick Williams be, and the same hereby is, VACATED
               27       and the defendant is hereby REMANDED to custody.
               28

James C. Mahan
U.S. District Judge
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                1            IT IS FURTHER ORDERED that defendant Frederick Williams shall be DETAINED
                2     pending the imposition and execution of sentencing.
                3            DATED January 22, 2016.
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                5                                                __________________________________________
                                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
